 1   CRAVATH, SWAINE & MOORE LLP                       KELLER & BENVENUTTI LLP
     Paul H. Zumbro (pro hac vice)                     Tobias S. Keller (#151445)
 2   (pzumbro@cravath.com)                             (tkeller@kellerbenvenutti.com)
     Kevin J. Orsini (pro hac vice)                    Jane Kim (#298192)
 3   (korsini@cravath.com)                             (jkim@kellerbenvenutti.com)
     Omid H. Nasab (pro hac vice)                      650 California Street, Suite 1900
 4   (onasab@cravath.com)                              San Francisco, CA 94108
     825 Eighth Avenue                                 Tel: 415 496 6723
 5   New York, NY 10019                                Fax: 650 636 9251
     Tel: 212 474 1000
 6   Fax: 212 474 3700

 7   Attorneys for Debtors
     and Debtors in Possession
 8
                                 UNITED STATES BANKRUPTCY COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
10
      In re:                                             Bankruptcy Case No. 19-30088 (DM)
11
      PG&E CORPORATION,                                  Chapter 11
12                                                       (Lead Case)
13             - and -                                   (Jointly Administered)

14    PACIFIC GAS AND ELECTRIC                           SUMMARY SHEET TO SECOND
      COMPANY,                                           INTERIM FEE APPLICATION OF
15                                                       CRAVATH, SWAINE & MOORE LLP
                              Debtors.                   FOR ALLOWANCE AND PAYMENT OF
16
                                                         COMPENSATION AND
17     Affects PG&E Corporation                         REIMBURSEMENT OF EXPENSES FOR
       Affects Pacific Gas and Electric Company         THE PERIOD JUNE 1, 2019 THROUGH
18     Affects both Debtors                             AND INCLUDING SEPTEMBER 30, 2019

19    * All papers shall be filed in the Lead Case       Date:    TBD
      No. 19-30088 (DM).                                 Time:    TBD (Pacific Time)
20
                                                         Place:   United States Bankruptcy Court
21                                                                Courtroom 17, 16th Floor
                                                                  San Francisco, CA 94102
22
                                                         Objection Deadline: December 9, 2019, at
23                                                                           4:00 p.m. (Pacific Time)
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     General Information
 1

 2   Name of Applicant:                                 Cravath, Swaine & Moore LLP (“Cravath”)

 3   Authorized to Provide Professional Services to:    Attorneys for Debtors and Debtors in
                                                        Possession
 4
     Petition Date:                                     January 29, 2019
 5
     Retention Date:                                    April 25, 2019 nunc pro tunc to
 6                                                      January 29, 2019
 7   Prior Applications:                                First Interim Fee Application of
 8                                                      Cravath, Swaine & Moore LLP for Allowance
                                                        and Payment of Compensation and
 9                                                      Reimbursement of Expenses for the Period
                                                        January 29, 2019 Through and Including
10                                                      May 31, 2019 [Docket No. 3683] (the “First
                                                        Interim Fee Application”)
11

12   Summary of Fees and Expenses Sought in this Application

13   Time Period Covered by this Application:           June 1, 2019 through and including September
                                                        30, 2019 (the “Compensation Period”)
14
     Amount of Compensation Sought as Actual,           $35,901,138.00
15   Reasonable and Necessary for the
     Compensation Period:
16
     Amount of Expense Reimbursement Sought As          $3,852,996.21
17
     Actual, Reasonable and Necessary for the
18   Compensation Period:

19   Total Compensation and Expenses Requested          $39,754,134.21
     for the Compensation Period:
20
     Summary of Voluntary Fee Reductions for the Compensation Period
21
     Amount of Voluntary Reductions to                  $444,744.00 in voluntary write offs
22
     Compensation Incurred During the
23   Compensation Period:

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                                              35
     Total Fees and Expenses Allowed Pursuant to Prior Applications
 1

 2   Total Allowed Compensation Paid to Date:         N/A

 3   Total Allowed Expenses Paid to Date:             N/A

 4   Total Allowed Compensation and Expenses          N/A
     Paid to Date:
 5
     Total Fees and Expenses Paid to Applicant Pursuant to Monthly Statements, but Not Yet
 6   Allowed
 7
     Compensation Sought in this Application          $5,176,351.40
 8   Already Paid Pursuant to the Interim
     Compensation Order but Not Yet Allowed
 9   (80% of Fees in June Monthly Fee Statement):

10   Expenses Sought in this Application Already      $374,444.13
     Paid Pursuant to the Interim Compensation
11   Order but Not Yet Allowed (100% of Expenses
12   in June Monthly Fee Statement):

13   Summary of Fees and Expenses Sought in this Application

14   Total Compensation and Expenses Sought in        $5,550,795.53
     this Application Already Paid Pursuant to the
15   Interim Compensation Order but Not Yet
     Allowed:
16

17   Total Compensation and Expenses Sought in        $34,203,338.68
     this Application Not Yet Paid:
18
     Summary of Rates and Other Related Information in this Application
19
     Blended Rate in this Application for All         $721.08
20   Attorneys:
21   Blended Rate in this Application for All         $659.82
22   Timekeepers:

23   Number of Timekeepers Included in this           147
     Application:
24
     Number of Attorneys in this Application Not      N/A
25   Included in Staffing Plan Approved by Client:
26   Difference Between Fees Budgeted and             In the aggregate, $2,064,047.79 under the
     Compensation Sought for this Period:             “high-case” budget for the Compensation
27
                                                      Period
28

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                                              35
      Number of Attorneys Billing Fewer than 15         10 attorneys
 1    Hours to the Cases During the Compensation
 2    Period:

 3    Increase in Rates:                                None

 4   This is a(n): X    Interim    Final Application

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                                               35
                           SUMMARY OF FIRST INTERIM FEE APPLICATION
 1
                                     Total Compensation and Expenses                                         Holdback Fees
 2                                                                          Total Amount Paid to Date
        Date Filed       Period        Incurred for Period Covered                                            Not Yet Paid
       and Dkt No.      Covered                                                Fees          Expenses             Fees
                                           Fees             Expenses
 3                                                                           (@ 80%)        (@ 100%)           (@20%)
         06/19/19       01/29/19 –
                                       $7,350,674.50       $410,918.01     $5,880,539.60    $410,918.01       $1,470,134.90
       Dkt. No. 2645     02/28/19
 4       07/18/19       03/01/19 –
                                       $7,888,829.00       $247,388.40     $6,311,063.20    $247,388.40       $1,577,765.80
       Dkt. No. 3084     03/31/19
 5       08/08/19       04/01/19 –
                                       $7,599,874.75       $219,270.08     $6,079,899.80    $219,270.08       $1,519,974.95
       Dkt No. 3484      04/30/19
         08/20/19       05/01/19 –
 6     Dkt. No. 3614     05/31/19
                                       $7,503,720.75       $144,485.33     $6,002,976.60    $144,485.33       $1,500,744.15
                                                       1
      Total:                           $30,343,099.00      $1,022,061.82   $24,274,479.20   $1,022,061.82     $6,068,619.80
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           Net of $1,139,607.50 in voluntary write offs.
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                                                     35
                              SUMMARY OF SECOND INTERIM FEE APPLICATION
 1
                                    Total Compensation and           Total Amount Previously                                        Holdback
 2                                                                                                     Total Amount Paid to
                                     Expenses Incurred for             Requested with Prior                                            Fees
      Date Filed       Period                                                                                 Date
                                        Period Covered                Monthly Fee Statement                                         Requested
     and Dkt No.      Covered
 3                                      Fees          Expenses
                                                                        Fees        Expenses             Fees          Expenses        Fees
                                                                      (@ 80%)      (@ 100%)            (@ 80%)        (@ 100%)       (@20%)
       09/13/2019     06/01/19 –
 4    Dkt. No. 3892    06/30/19
                                   $6,470,439.25     $374,444.13     $5,176,351.40    $374,444.13     $5,176,351.40   $374,444.13   $1,294,087.85
       10/31/2019     07/01/19 –
                                   $7,788,617.50     $1,058,420.09   $6,230,894.00    $1,058,420.09      $0.00           $0.00      $1,557,723.50
 5    Dkt. No. 4539    07/31/19
       11/15/2019     08/01/19 –
                                   $9,705,244.75     $1,164,938.29   $7,764,195.80    $1,164,938.29      $0.00           $0.00      $1,941,048.95
      Dkt. No. 4764    08/31/19
 6     11/15/2019     09/01/19 –
                                   $12,059,050.75    $1,255,193.70    9,647,240.60    $1,255,193.70      $0.00           $0.00      $2,411,810.15
      Dkt. No. 4765    09/30/19
 7   Total:                        $36,023,352.252   $3,852,996.21   $28,818,681.80   $3,852,996.21 $5,176,351.40     $374,444.13   $7,204,670.45
     Travel Adjustment:3                                                                                                            (122,214.25)
 8   Adjusted Total:                                                                                                                $7,082,456.20


 9             Summary of Any Objections to Monthly Fee Statements: None4
10             Compensation and Expenses Sought in this Application Not Yet Paid: $34,203,338.68

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22        2
              Net of $444,744.00 in voluntary write offs.
23        3
            Consistent with the Fee Procedures Order entered on November 15, 2019 (defined below), Cravath has capped Non-
     Working Travel Time (airplane travel) at two hours for billing purposes resulting in a discount of $842,409.50 for the
24   Compensation Period. Prior to the entry of the Fee Procedures Order, Cravath had discounted Non-Working Travel Time
     by 50% as reflected in the Fifth, Sixth, Seventh and Eighth Monthly Fee Statements for a discount of $720,195.25 for the
25   Compensation Period. The Travel Adjustment of $122,214.25 is the difference between those discount amounts (i.e., the
     additional discount applied to give effect to the Fee Procedures Order).
26
          4
            The objection deadline with respect to Cravath’s Sixth Monthly Fee Statement is November 21, 2019, the objection
27   deadline with respect to Cravath’s Seventh Monthly Fee Statement is December 6, 2019, and the objection deadline with
     respect to Cravath’s Eighth Monthly Fee Statement is December 6, 2019. If each deadline passes without objection, the
28   Debtors will remit payment of 80% of the requested fees and 100% of the requested expenses for each period.

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                                                            35
 1
                                 COMPENSATION BY PROFESSIONAL
 2                                FOR THE COMPENSATION PERIOD

 3   The attorneys who rendered professional services in these Chapter 11 Cases during the
     Compensation Period are:
 4
          NAME OF                                                         TOTAL
 5                                               YEAR          HOURLY                     TOTAL
       PROFESSIONAL          DEPARTMENT                                   HOURS
                                               ADMITTED         RATE                   COMPENSATION
         PARTNERS:                                                        BILLED
 6
      Evan R. Chesler           Litigation         1976          $1,500    50.50          $75,750.00
 7    Peter T. Barbur           Litigation         1989          1,500     116.00         174,000.00

 8    Richard A. Hall           Corporate          1989          1,500     287.20         430,800.00
      Julie A. North            Litigation         1990          1,500     343.90         515,850.00
 9
      Darin P. McAtee           Litigation         1993          1,500     120.50         180,750.00
10    Andrew W. Needham              Tax           1995          1,500     80.20          120,300.00

11    George E. Zobitz          Corporate          1996          1,500     174.30         261,450.00
      Antony L. Ryan            Litigation         1997          1,500     14.00          21,000.00
12
      Paul H. Zumbro            Corporate          1998          1,500     452.00         678,000.00
13    Timothy G. Cameron        Litigation         1999          1,500     329.90         494,850.00

14    Kevin J. Orsini           Litigation         2004          1,500    1,099.40       1,649,100.00
      David M. Stuart           Litigation         1996          1,350     19.40          26,190.00
15
      John D. Buretta           Litigation         1997          1,350     12.90          17,415.00
16    Benjamin Gruenstein       Litigation         2000          1,350     37.60          50,760.00

17    J. Wesley Earnhardt       Litigation         2005          1,350     13.20          17,820.00
      Omid H. Nasab             Litigation         2007          1,350     395.60         534,060.00
18
      Damaris Hernandez         Litigation         2008          1,350     412.70         557,145.00
19    Andrew C. Elken           Corporate          2009          1,100     71.10          78,210.00

20    Nicholas A. Dorsey        Corporate          2010          1,100     20.10          22,110.00
      Total Partners:                                                     4,050.50       $5,905,560.00
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                                                  35
 1        NAME OF                                                TOTAL
        PROFESSIONAL                                YEAR  HOURLY                          TOTAL
                                DEPARTMENT                       HOURS
 2       ASSOCIATES:                              ADMITTED RATE                        COMPENSATION
                                                                 BILLED
 3   Christopher J. Kelly            Corporate          2000     $1,240    19.40         $24,056.00
     Evan Norris                     Litigation         2003      1,025    800.30        820,307.50
 4
     Lillian S. Grossbard            Litigation         1998      1,020    828.70        845,274.00
 5   Lindsay J. Timlin               Litigation         2010      1,010    57.20          57,772.00

 6   David A. Herman                 Litigation         2008      975      599.10        584,122.50
     Deborah L. Fox                  Litigation         2008      975      58.40          56,940.00
 7
     Scott Reents                    Litigation         2008      975      467.00        455,325.00
 8   Nathan Denning                  Litigation         2011      960     1,108.10       1,063,776.00

 9   Brittany L. Sukiennik           Litigation         2012      960      404.00        387,840.00
     Daniel C. Haaren                Corporate          2013      960      622.50        597,600.00
10
     Jordan Peterson                 Litigation         2014      960      86.40         82,944.00
11   Paul Sandler*                   Corporate          2014
                                                                  960      102.40        98,304.00
                                                                  940      173.50        163,090.00
12   Katherine D. Janson             Litigation         2006      945       14.80        13,986.00

13   Arvind Ravichandran                Tax             2013      940      17.20          16,168.00
     Holden K. Sumner                Corporate          2014      940       13.70        12,878.00
14                                                                940      254.30        239,042.00
     Christopher Beshara*            Litigation         2015
                                                                  890      738.40        657,176.00
15                                                                940      279.70        262,918.00
     Kelsie Docherty*                Litigation         2015
                                                                  890      248.70        221,343.00
16                                                                940      224.80        211,312.00
     Michael Zaken*                  Litigation         2015
                                                                  890      326.30        290,407.00
17                                                                890      155.30        138,217.00
     Brendan Benedict*               Litigation         2016
                                                                  855      120.40        102,942.00
18                                                                890       43.60        38,804.00
     Charles E. Loeser*              Litigation         2016
                                                                  855       38.00        32,490.00
19                                                                890      177.50        157,975.00
     Christina Barreiro*             Litigation         2016
                                                                  855      141.70        121,153.50
20                                                                890      214.80        191,172.00
     Clay H. Greenberg*              Litigation         2016
                                                                  855       85.30        72,931.50
21                                                                890      216.50        192,685.00
     Matthias Thompson*              Litigation         2016
                                                                  855      529.80        452,979.00
22                                                                890      150.00        133,500.00
     Max A. Winograd*                Litigation         2016
                                                                  855       38.20        32,661.00
23   Norman J. Walczak               Corporate          2016      890       17.50        15,575.00
                                                                  890       17.80        15,842.00
24   Peter Fountain*                 Litigation         2016
                                                                  855      395.40        338,067.00
                                                        2016      890      170.40        151,656.00
25   Salah M. Hawkins*               Litigation
                                                                  855       79.50        67,972.50
                                                                  855       18.70        15,988.50
26   Evan E. H. Schladow*            Corporate          2017
                                                                  840       98.40        82,656.00
                                                                  855      221.40        189,297.00
27   Grant S. May*                   Litigation         2017
                                                                  840      704.70        591,948.00
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                                                  35
 1        NAME OF                                                 TOTAL
        PROFESSIONAL                                 YEAR  HOURLY                          TOTAL
                                 DEPARTMENT                       HOURS
 2       ASSOCIATES:                               ADMITTED RATE                        COMPENSATION
                                                                  BILLED
                                                                   855      162.90        139,279.50
 3   Marco Wong*                      Litigation         2017
                                                                   840      485.30        407,652.00
 4   Melissa Valladares               Litigation         2017      855       32.40        27,702.00
                                                                   855      106.90        91,399.50
     Sarah V. Warburg-Johnson*        Litigation         2017
 5                                                                 840       48.70        40,908.00
     Beatriz Paterno                  Litigation         2017      840      275.50        231,420.00
 6
     Valerie Sapozhnikova             Corporate          2017      840       54.90        46,116.00
 7   Alex Weiss*                      Litigation         2018
                                                                   840      158.10        132,804.00
                                                                   750      439.50        329,625.00
 8                                                                 840      126.70        106,428.00
     Allison Kempf*                   Litigation         2018
                                                                   750      371.50        278,625.00
 9                                                                 840      231.90        194,796.00
     Allison Tilden*                  Litigation         2018
                                                                   750      546.40        409,800.00
10                                                                 840      219.00        183,960.00
     Bradley R. Niederschulte*        Litigation         2018
                                                                   750      126.40        94,800.00
11                                                                 840       14.00        11,760.00
     Christina S. Shin*               Corporate          2018
                                                                   750       39.70        29,775.00
12   Dean M. Nickles                  Litigation         2018      840      27.30         22,932.00
                                                                   840      211.60        177,744.00
13   Jessica Choi*                    Litigation         2018
                                                                   750      404.50        303,375.00
                                                                   840      100.80        84,672.00
14   Jonathan D. Mooney*              Litigation         2018
                                                                   750       9.60          7,200.00
                                                                   840       23.00        19,320.00
15   Katherine O'Koniewski*           Litigation         2018
                                                                   750      332.70        249,525.00
                                                                   840       32.00        26,880.00
     Michael Ardeljan*                Litigation         2018
16                                                                 750      103.20        77,400.00
                                                                   840      247.90        208,236.00
     Monica D. Kozycz*                Litigation         2018
17                                                                 750      592.00        444,000.00
                                                                   840       31.50        26,460.00
     Patrick S. Taylor*               Corporate          2018
18                                                                 750       74.40        55,800.00
                                                                   840      165.50        139,020.00
     Sarah M. Topol*                  Litigation         2018
19                                                                 750      111.10        83,325.00
                                                      2017
20                                                 (Admitted in
     Edgar Myer                       Litigation                   750      608.70        456,525.00
                                                    New South
21                                                   Wales)
                                                      2018
22                                                 (Admitted in
     Christopher J. Charlton          Litigation                   750      267.60        200,700.00
                                                   England and
23                                                   Wales)
     Michael Fahner                   Corporate       2018         750      353.70        265,275.00
24   Victoria Ryan                    Litigation         2018      750       16.70        12,525.00
25                                                                 750      175.50        131,625.00
     Aishlinn R. Bottini*             Litigation         2019
                                                                   595      433.60        257,992.00
26                                                                 750      219.30        164,475.00
     Caleb Robertson*                 Litigation         2019
                                                                   595      774.90        461,065.50
27   Derek Mong                       Litigation         2019      750      40.60         30,450.00

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                                                   35
 1        NAME OF                                                TOTAL
        PROFESSIONAL                                YEAR  HOURLY                            TOTAL
                               DEPARTMENT                        HOURS
 2       ASSOCIATES:                              ADMITTED RATE                          COMPENSATION
                                                                 BILLED
                                                                      750      78.30       58,725.00
 3   Feyilana Lawoyin*               Litigation      2019
                                                                      595     389.50       231,752.50
                                                                      750     281.70       211,275.00
 4   Kalana Kariyawasam*             Litigation      2019
                                                                      595     488.20       290,479.00
                                                                      750     241.90       181,425.00
 5   Lauren A. Cole*                 Litigation      2019
                                                                      595     191.30       113,823.50
                                                                      750     143.90       107,925.00
 6   Margaret Fleming*               Corporate       2019
                                                                      595     537.20       319,634.00
                                                                      750      87.20       65,400.00
 7   Mika Madgavkar*                 Litigation      2019
                                                                      595     196.30       116,798.50
                                                                      750     159.70       119,775.00
 8   Sara Bodner*                    Litigation      2019
                                                                      595     647.90       385,500.50
                                                                      750      13.30        9,975.00
 9   Seann Archibald*                Corporate       2019
                                                                      595      92.30       54,918.50
                                                                      750      90.30       67,725.00
10   Sofia Gentel*                   Litigation      2019
                                                                      595     571.00       339,745.00
                                                                      750     187.80       140,850.00
11   Sylvia Mahaffey*                Corporate       2019
                                                                      595     484.80       288,456.00
                                                                      750     112.10       84,075.00
12   Ya Huang*                       Corporate       2019
                                                                      595     185.00       110,075.00
     Ciara Grubbs                    Litigation      2019             595      7.20         4,284.00
13
     Emily Tomlinson                 Corporate       2019             595      11.60        6,902.00
14   Lauren Phillips                 Litigation      2019             595     305.50       181,772.50

15   Rebecca Schwarz                 Litigation      2019             595     339.40       201,943.00
     Ryan Sila                       Litigation      2019             595      11.80        7,021.00
16
     Andrew Astore                   Corporate           **           595      24.10        14,339.50
17   Evan Siegel                     Litigation          **           595      21.20        12,614.00

18   Harold King                     Corporate           **           595      41.70        24,811.50
     Shanique Campbell               Litigation          **           595      36.00        21,420.00
19
     Swara Saraiya                   Litigation          **           595      73.30        43,613.50
20   William LaRosa                  Litigation          **           595      84.50        50,277.50
21   Marisa Wheeler                  Litigation      2003             565     733.70       414,540.50
     Raffaele DiMaggio               Litigation      2004             565     819.50       463,017.50
22
     Joel Hagood                     Litigation      2010             565     311.70       176,110.50
23   Jay Holt                        Litigation      1977             415     787.30       326,729.50
24   Katherine Geraci                Litigation      1984             415      61.10        25,356.50
     Alain Rozan                     Litigation      1985             415     1,099.40     456,251.00
25
     Andrea Naham                    Litigation      1987             415     1,210.10     502,191.50
26   Matthew Goetz                   Litigation      1992             415     137.00        56,855.00

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 1         NAME OF                                                      TOTAL
         PROFESSIONAL                                      YEAR  HOURLY                                  TOTAL
                                    DEPARTMENT                          HOURS
 2        ASSOCIATES:                                    ADMITTED RATE                                COMPENSATION
                                                                        BILLED
 3   Louise Quick                        Litigation           1993            415         139.30            57,809.50
     Trebor Lloyd                        Litigation           1993            415         780.40            323,866.00
 4
     Grace Sommero                       Litigation           1995            415         129.90            53,908.50
 5   Andrew Weiner                       Litigation           1997            415         795.30            330,049.50

 6   Peter Lee                           Litigation           2004            415        1,021.70           424,005.50
     Peter Truong                        Litigation           2004            415         932.30            386,904.50
 7
     Alejandro MacLean                   Litigation           2008            415         533.10            221,236.50
 8   Robert Njoroge                      Litigation           2008            415         676.60            280,789.00

 9   Moshe K. Silver                     Litigation           2009            415         829.30            344,159.50
     Daniel Berkowitz                    Litigation           2010            415         54.50             22,617.50
10
     Michael Pfeffer                     Litigation           2010            415         928.80            385,452.00
11   Dianne Rim                          Litigation           2011            415         968.90            402,093.50

12   Elizabeth Shura                     Litigation           2011            415         54.30             22,534.50
     Michael Fessler                     Litigation           2011            415         909.00            377,235.00
13
     Elizabeth Varas                     Litigation           2013            415         109.00            45,235.00
14   Joanna Ingalls                      Litigation           2013            415         77.40             32,121.00

15   Ryan Spence                         Litigation           2013            415         865.70            359,265.50
                                                                              415         217.50            90,262.50
     Kimberly Tolman*                    Litigation           2014
16                                                                            390         604.30            235,677.00
     Matthew Ng                          Litigation           2014            415         790.70            328,140.50
17
     Nathan Ancheta                      Litigation           2017            415         808.60            335,569.00
18    Total Associates:                                                                43,399.70         $28,309,779.00
     * - During the Compensation Period, these individuals advanced in seniority and their hourly rates were subject to a step
19   increase.
     ** - Not yet admitted.
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     The paraprofessionals and other non-legal staff who rendered professional services in these
 1   Chapter 11 Cases during the Compensation Period are:
 2
                                                                                        TOTAL
 3         NAME OF                                                      HOURLY                           TOTAL
                                             DEPARTMENT                                 HOURS
      PARAPROFESSIONALS:                                                 RATE                         COMPENSATION
                                                                                        BILLED
 4
      Alex Kol                              Litigation Technology           $400          19.00             $7,600.00
 5    Brian Ross                            Litigation Technology            400           8.50              3,400.00
      Janet Venegas Fernando                Litigation Technology            400          217.40            86,960.00
 6
      Justin McMullen                       Litigation Technology            400           9.50              3,800.00
 7    Miguel Gonzalez                       Litigation Technology            385          74.80             28,798.00
      Vaughn Harper                         Litigation Technology            385          46.20             17,787.00
 8
      Lee Michael Stein                     Litigation Technology            375          26.70             10,012.50
 9    Roberto Severini                     Litigation Technology             360          162.20            58,392.00
                                              Litigation Support
10    Dana Crandall                                                          335          64.00             21,440.00
                                                Administrator
      Lauren Ruffin                       Litigation Legal Assistant         335          51.90             17,386.50
11
      Somaiya Kibria                      Litigation Legal Assistant         335          487.70            163,379.50
12    David Sizer                         Litigation Legal Assistant         310          78.40             24,304.00
      Elizabeth Greene                    Litigation Legal Assistant         310          135.60            42,036.00
13
                                                                             310          595.00            184,450.00
      Jim Bell*                           Litigation Legal Assistant
14                                                                           290           35.60             10,324.00
      Joan Lewandowski                    Litigation Legal Assistant         310          700.70            217,217.00
15                                                                           310          375.60            116,436.00
      Kathleen Driscoll*                  Litigation Legal Assistant
                                                                             290          234.40             67,976.00
16    Laura De Feo                        Litigation Legal Assistant         310           79.60            24,676.00
                                                                             310          731.60            226,796.00
17    Stephanie Scanzillo*                Litigation Legal Assistant
                                                                             290           63.50             18,415.00
                                                                             310          264.20             81,902.00
18    Zachary Sanders*                    Litigation Legal Assistant
                                                                             290           10.70              3,103.00
      Charlie Zhen                        Litigation Legal Assistant         290          627.20            181,888.00
19
      Husniye Cogur                       Litigation Legal Assistant         290          455.30            132,037.00
20    Nicole Jakobson                     Litigation Legal Assistant         290          540.50            156,745.00
      Raley Abramczyk                     Litigation Legal Assistant         290          592.70            171,883.00
21
      Veronica Velasco                    Litigation Legal Assistant         290          812.10            235,509.00
22    Vivian Fernandez                    Litigation Legal Assistant         290          736.40            213,556.00

23    Total Paraprofessionals:                                                           8,237.00         $2,528,208.50
     * - During the Compensation Period, these individuals advanced in seniority and their hourly rates were subject to a step
24   increase.
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     The total fees for the Compensation Period are:
 1
                                                                                              TOTAL
 2            PROFESSIONALS                     BLENDED RATE                HOURS
                                                                                           COMPENSATION
      Partners                                        $1,457.98              4,050.50           $5,905,560.00
 3    Associates                                         652.30             43,399.70           28,309,779.00
      Paraprofessionals                                  306.93              8,237.00            2,528,208.50
 4    Blended Attorney Rate                              721.08
      Blended Rate for All Timekeepers                   659.82
 5    Total Hours and Fees Incurred                                         55,687.20           36,743,547.505
      Less Discount on Non-Working
 6                                                                                                (842,409.50)
      Travel Time (Two Hour Cap)
      Total Adjusted Fees                                                                      $35,901,138.00
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             Net of $444,744.00 in voluntary write offs.
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 1
                                 COMPENSATION BY PROJECT CATEGORY
 2                                 FOR THE COMPENSATION PERIOD
      TASK
 3                                     DESCRIPTION                                   HOURS          AMOUNT
      CODE
      ADMN Case Administration                                                           767.50     $243,085.00
 4    ASST        Use and Sale of Assets, Including 363 Sales                              7.00        7,639.50
      AUTO        Automatic Stay                                                         107.00      94,537.50
 5    BARN        Bar Date and Claims Noticing Matters                                    76.90       70,711.00
      CASE        General Case Strategy                                                1,438.80     1,225,836.00
 6    CASH        Financing/Cash Collateral                                              973.40      951,389.50
      COMM Committee Matters                                                           6,488.90     3,910,073.50
 7    CRAV        Cravath Retention and Fee Application                                1,574.40      950,685.00
      CRED        Creditor Inquiries                                                       2.60        2,630.00
 8    DSSV        Disclosure Statement/ Solicitation/Voting Matters                       10.90       9,550.50
      FEEO        Retention and Fee Application of Non-Cravath Professionals               4.20        5,493.00
 9    GOVR        Corporate Governance and Securities Matters                         1,068.80      1,059,966.00
      HEAR        Hearings and Court Matters                                             507.30      472,438.00
10    INVS        Investigations                                                       1,294.40      912,650.00
      NONB        Non-Bankruptcy Litigation                                           15,395.20     8,927,256.00
11    OCMS        Other Contested Matters                                                103.10      102,647.50
      OPRS        Business Operations Matters                                            484.20      397,622.50
12    PLAN        Plan of Reorganization/Plan Confirmation                               291.00      322,259.50
      PUBL        Public Relations Strategy                                              113.00      113,192.00
13    REGS        Regulatory and Legislative Matters                                   5,781.90     3,766,118.00
      TRVL        Non-Working Travel Time                                             1,684.90      597,981.00*
14    USTM        U.S. Trustee Matters/Meetings/Communications/Reports                    26.50      18,384.00
      WILD        Wildfire Claims Matters                                             17,485.30    11,738,993.00
15    Total:                                                                          55,687.20   $35,901,138.00**
     * - Non-Working Travel Time (airplane travel) capped at two hours for billing purposes.
16   ** - Net of $444,744.00 in voluntary write offs.

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 1
                                            EXPENSE SUMMARY
 2                                    FOR THE COMPENSATION PERIOD
                            EXPENSES                                                 AMOUNT
 3       Business Meals                                                                $23,224.75
         Courier/Mail Services                                                         11,230.59
 4
         Duplicating                                                                   13,936.95
 5       Meeting/Deposition Rooms                                                        250.00
         Miscellaneous                                                                   130.50
 6       Special Disbursements (Including Expert Fees)                                3,272,750.41
         Transportation                                                                29,771.60
 7       Travel                                                                       501,701.41*
         Total                                                                      $3,852,996.21
 8   * - Hotel expenses have been capped for reimbursement purposes at $600.00/night.
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 1   CRAVATH, SWAINE & MOORE LLP                        KELLER & BENVENUTTI LLP
     Paul H. Zumbro (pro hac vice)                      Tobias S. Keller (#151445)
 2   (pzumbro@cravath.com)                              (tkeller@kellerbenvenutti.com)
     Kevin J. Orsini (pro hac vice)                     Jane Kim (#298192)
 3   (korsini@cravath.com)                              (jkim@kellerbenvenutti.com)
     Omid H. Nasab (pro hac vice)                       650 California Street, Suite 1900
 4   (onasab@cravath.com)                               San Francisco, CA 94108
     Worldwide Plaza                                    Tel: 415 496 6723
 5   825 Eighth Avenue                                  Fax: 650 636 9251
     New York, NY 10019
 6   Tel: 212 474 1000
     Fax: 212 474 3700
 7

 8   Attorneys for Debtors
     and Debtors in Possession
 9
                                 UNITED STATES BANKRUPTCY COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
11
      In re:                                           Bankruptcy Case No. 19-30088 (DM)
12
      PG&E CORPORATION,                                Chapter 11
13                                                     (Lead Case)
               - and -                                 (Jointly Administered)
14

15    PACIFIC GAS AND ELECTRIC                         SECOND INTERIM FEE APPLICATION
      COMPANY,                                         OF CRAVATH, SWAINE & MOORE FOR
16                                                     ALLOWANCE AND PAYMENT OF
                              Debtors.                 COMPENSATION AND
17                                                     REIMBURSEMENT OF EXPENSES FOR
       Affects PG&E Corporation                       THE PERIOD JUNE 1, 2019 THROUGH
18
       Affects Pacific Gas and Electric Company       AND INCLUDING SEPTEMBER 30, 2019
19     Affects both Debtors
                                                       Date:    TBD
20    * All papers shall be filed in the Lead Case     Time:    TBD (Pacific Time)
      No. 19-30088 (DM).                               Place:   United States Bankruptcy Court
21                                                              Courtroom 17, 16th Floor
22                                                              San Francisco, CA 94102

23                                                     Objection Deadline: December 9, 2019, at
                                                                           4:00 p.m. (Pacific Time)
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 1                  Cravath, Swaine & Moore LLP (“Cravath”), attorneys for PG&E Corporation (“PG&E

 2   Corp.”) and Pacific Gas and Electric Company (the “Utility”), as debtors and debtors in possession

 3   (collectively, “PG&E” or the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

 4   Cases”), for its second application (the “Second Interim Fee Application” or the “Application”),

 5   pursuant to sections 330(a) and 331 of title 11 of the United States Code (the “Bankruptcy Code”)

 6   and Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), for the

 7   interim allowance of compensation for professional services performed by Cravath for the period

 8   commencing June 1, 2019 through and including September 30, 2019 (the “Compensation Period”)

 9   and for reimbursement of its actual and necessary expenses incurred during the Compensation Period,

10   respectfully represents:

11                          PRELIMINARY STATEMENT AND CASE STATUS

12                  1.       The Chapter 11 Cases and the hundreds of stayed and contemplated litigations

13   concerning the 2015 Butte fire, the 2017 North Bay fires (including the 2017 Tubbs fire with respect

14   to which the automatic stay under section 362 of the Bankruptcy Code was lifted during the

15   Compensation Period) and the 2018 Camp fire (collectively, the “Wildfire Litigations”) are large,

16   complex actions. Cravath’s role in representing the Debtors is expansive and concerns six primary

17   areas, among several others. First, Cravath is lead counsel in all the Wildfire Litigations. The Wildfire

18   Litigations comprise claims by thousands of plaintiffs—including individuals, insurance companies

19   and public entities—with potential liabilities in excess of $30 billion if the Debtors were to be found

20   liable for certain or all of the alleged damages (excluding potential punitive damages, fines and

21   penalties and damages from claims that have not manifested yet). During the Compensation Period,

22   Cravath spent over 17,400 hours of attorney and para-professional time (under task code “WILD”; an

23   increase of over 8,000 hours compared with the prior compensation period) investigating the facts of

24   the fires underlying the Wildfire Litigations, including working with experts, interviewing witnesses

25   and reviewing reports issued by the California Department of Forestry and Fire Protection (“CAL

26   FIRE”). Second, Cravath advises the Debtors on all wildfire and related issues that have arisen in

27   connection with the Utility’s corporate probation resulting from its January 27, 2017 federal criminal

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 1   convictions. This has entailed drafting detailed responses to the federal monitor appointed to oversee

 2   that probation, as well as to the Hon. William H. Alsup, and the review and production of documents.

 3   Cravath recorded over 15,300 hours of professional time (under task code “NONB”; an increase of

 4   over 4,600 hours compared with the prior compensation period) in connection with the criminal

 5   probation and other criminal inquiries. Cravath is also lead counsel in the Tubbs state court litigation.

 6   To prepare for the state court trial currently set for January, Cravath has retained and worked with

 7   experts, engaged in extensive factual depositions, responded to continuous requests for additional

 8   documents and engaged in motion practice concerning trial schedule, form and procedures. Third,

 9   Cravath has represented the Debtors in responding to numerous Committee discovery requests,

10   inquiries and motions spending over 6,400 hours of professional time on such responses (under task

11   code “COMM”; an increase of over 5,900 hours compared with the prior compensation period).

12   Fourth, Cravath has represented the Debtors in responding to detailed data requests from state

13   regulatory agencies, municipalities and consumer groups, spending over 5,700 hours of professional

14   time on such responses (under task code “REGS”; a decrease of over 5,100 hours compared with the

15   prior compensation period), including the California Public Utilities Commission (the “CPUC”),

16   California Independent System Operator (“CAISO”), CAL FIRE, California Public Advocate

17   (“CalPA”), City of San Francisco and The Utility Reform Network (“TURN”). Fifth, during the

18   Compensation Period, Cravath conducted other categories of investigations, spending over 1,200

19   hours of professional time on such responses (primarily under task code “INVS”; a decrease of over

20   1,500 hours compared with the prior compensation period), including in connection with an

21   investigation by the Securities and Exchange Commission (“SEC”). Sixth, Cravath advised the

22   Debtors regularly during the Compensation Period on corporate governance matters, spending over

23   1,000 hours of professional time on such responses (under task code “GOVR”; a decrease of over

24   1,800 hours compared with the prior compensation period), including in connection with the

25   postpetition changes in the composition of the boards of directors of the Debtors and the drafting

26   and/or review of the Debtors’ SEC filings and other public disclosures to investors. Seventh, Cravath

27   participated in various aspects of these Chapter 11 Cases with the Debtors’ other professionals,

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 1   including in connection with the debtor-in-possession (“DIP”) financing facilities, the exit financing

 2   for the Debtors’ proposed plan of reorganization and preparing for section 502(c) estimation

 3   proceedings with respect to the Wildfire claims. Such bankruptcy work has been divided among

 4   several task codes, including “BARN”, “CASE”, “CASH” and “CRAV” (for drafting documents

 5   related to Cravath’s retention and fee applications and related matters). These categories—among

 6   several others—are described in greater detail below. Given the breadth, complexity and volume of

 7   the work for which Cravath seeks compensation on behalf of its team of 147 professionals—who in

 8   the aggregate recorded 55,687.20 hours during the 4-month Compensation Period—the descriptions

 9   herein are necessarily summary in fashion.

10                  2.       This Application has been prepared in accordance with the Bankruptcy Code,

11   the Bankruptcy Rules, the Bankruptcy Local Rules for the Northern District of California (the “Local

12   Rules”), the Order Pursuant to 11 U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority

13   to Establish Procedures for Interim Compensation and Reimbursement of Expenses of Professionals

14   [Docket No. 701] (the “Interim Compensation Order”), the Guidelines for Compensation and

15   Expense Reimbursement of Professionals and Trustees for the Northern District of California, dated

16   February 19, 2014 (the “Local Guidelines”), the U.S. Trustee Guidelines for Reviewing Applications

17   for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger

18   Chapter 11 Cases, effective November 1, 2013 (the “U.S. Trustee Guidelines”), the revised Fee

19   Examiner Protocol for Chapter 11 Cases of PG&E Corporation and Pacific Gas and Electric

20   Company [Docket No. 4473-1] filed on October 24, 2019 (the “Revised Protocol,” and, together with

21   the Local Guidelines and the U.S. Trustee Guidelines, the “Fee Guidelines”) and the Order Granting

22   Fee Examiner’s Motion to Approve Fee Procedures [Docket No. 4770] entered on November 15, 2019

23   (the “Fee Procedures Order”).

24                                              JURISDICTION

25                  3.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

26   and 1334, the Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General

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 1   Order 24 (N.D. Cal.) and Rule 5011-1(a) of the Local Rules. This is a core proceeding pursuant to 28

 2   U.S.C. § 157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

 3                                             BACKGROUND

 4                  4.       On January 29, 2019 (the “Petition Date”), the Debtors commenced these

 5   Chapter 11 Cases. The Debtors continue to operate their businesses and manage their properties as

 6   debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee has

 7   been appointed in either of the Chapter 11 Cases. The Chapter 11 Cases are being jointly administered

 8   for procedural purposes only pursuant to Bankruptcy Rule 1015(b).

 9                  5.       On February 12, 2019, the United States Trustee (the “U.S. Trustee”) appointed

10   an Official Committee of Unsecured Creditors (the “Creditors’ Committee”). On February 15, 2019,

11   the U.S. Trustee appointed an Official Committee of Tort Claimants (the “Tort Claimants

12   Committee” and, together with the Creditors’ Committee, the “Committees”). On May 29, 2019, the

13   Court entered an order appointing Bruce A. Markell as the fee examiner for the Chapter 11 Cases (the

14   “Fee Examiner”). On August 30, 2019, the Fee Examiner filed the Fee Examiner Protocol for

15   Chapter 11 Cases of PG&E Corporation and Pacific Gas and Electric Company [Docket No. 3762-

16   1] with the Court. On October 24, 2019, having met and conferred with the Debtors, the U.S. Trustee

17   and the Committees, the Fee Examiner filed the Revised Protocol with the Court. On November 15,

18   2019, the Court entered the Fee Procedures Order.

19                  6.       Additional information regarding the circumstances leading to the

20   commencement of the Chapter 11 Cases and information regarding the Debtors’ businesses and capital

21   structure is set forth in the Amended Declaration of Jason P. Wells in Support of the First Day Motions

22   and Related Relief [Docket No. 263] (the “Wells Declaration”).

23                                    The Debtors’ Retention of Cravath

24                  7.       On March 22, 2019, the Debtors filed an application to employ Cravath as their

25   attorneys, effective as of the Petition Date [Docket No. 1024] (the “Retention Application”), which

26   application was approved by the Court by Order entered April 25, 2019 [Docket No. 1683] (the

27   “Retention Order”).

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 1                  8.       The Retention Order authorizes the Debtors to compensate and reimburse

 2   Cravath in accordance with the Bankruptcy Code, the Bankruptcy Rules, the Fee Guidelines and the

 3   Interim Compensation Order. The Retention Order also authorizes the Debtors to compensate Cravath

 4   at its customary hourly rates for services rendered and to reimburse Cravath for its actual and necessary

 5   expenses incurred, subject to application to this Court. Specifically, the Retention Order authorizes

 6   Cravath “to render the professional services specified in or contemplated by the [Retention]

 7   Application” [Docket No. 1683 ¶ 3], which are:

 8                       “advising and representing the Debtors with respect to the Wildfire
                          Litigation Matters, including by prosecuting actions on the Debtors’ behalf,
 9                        defending actions commenced or ongoing against the Debtors, negotiating
                          disputes in which the Debtors are involved and preparing objections to
10                        motions or to claims filed against the Debtors’ estates;

11                       advising and representing the Debtors in connection with claims allowance,
                          claims estimation and related settlement and plan of reorganization matters
12                        with respect to claims in connection with the Wildfire Litigation Matters;

13                       representing the Debtors in connection with investigations and inquiries by
                          regulators and prosecuting authorities related to the Northern California
14                        wildfires, and advising the Debtors in connection with wildfire issues that
                          have arisen or may arise in connection with their criminal probation arising
15                        from the San Bruno gas explosion;

16                       advising and representing the Debtors with respect to (i) any sale or other
                          disposition or separation of assets or other strategic transactions; (ii) any
17                        financing transactions, including any amendment to, or incremental
                          borrowing under, the DIP Financing, and bankruptcy exit financings; (iii)
18                        corporate governance and disclosure matters; and (iv) tax and employee
                          benefits matters; in each case including negotiating and preparing on the
19                        Debtors’ behalf any agreements, applications, motions and other filings
                          related thereto;
20
                         in consultation with the Debtors’ other professionals, taking all necessary
21                        actions in connection with any Chapter 11 plan and related disclosure
                          statement and/or other related documents, including in particular as they
22                        relate to the matters specified above; and

23                       performing all other necessary legal services in connection with these
                          Chapter 11 Cases as requested by the Debtors and without duplication of
24                        other professionals’ services.”

25                        [Docket No. 1024 at 8.]

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                                  Summary of Professional Compensation
 1                               and Reimbursement of Expenses Requested
 2                  9.       Cravath seeks allowance of interim compensation for professional services
 3   performed during the Compensation Period in the amount of $35,901,138.00 and for reimbursement
 4   of expenses incurred in connection with the rendition of such services in the amount of $3,852,996.21.
 5   During the Compensation Period, Cravath attorneys and paraprofessionals expended a total of
 6   55,687.20 hours in connection with the necessary services performed.
 7                  10.      There is no agreement or understanding between Cravath and any other person,
 8   other than members of the firm, for the sharing of compensation to be received for services rendered
 9   in these Chapter 11 Cases. Except as set forth below with respect to payments received by Cravath
10   pursuant to the Interim Compensation Order, during the Compensation Period, Cravath received no
11   payment or promises of payment from any source for services rendered or to be rendered in any
12   capacity whatsoever in connection with the matters covered by this Application.
13                  11.      The fees charged by Cravath in these Chapter 11 Cases are billed in accordance
14   with Cravath’s existing billing rates and procedures in effect during the Compensation Period. The
15   rates Cravath charges for the services rendered by its professionals and paraprofessionals in these
16   Chapter 11 cases are generally the same rates Cravath charges for professional and paraprofessional
17   services rendered in comparable bankruptcy and non-bankruptcy related matters. Such fees are
18   reasonable based on the customary compensation charged by comparably skilled practitioners in
19   comparable bankruptcy and non-bankruptcy cases in a competitive national legal market.
20                  12.      The summary sheets contain a schedule of Cravath professionals and
21   paraprofessionals who have performed services for the Debtors during the Compensation Period, the
22   capacities in which each individual is employed by Cravath, the department in which each individual
23   practices, the hourly billing rate charged by Cravath for services performed by such individuals, the
24   year in which each attorney was first licensed to practice law, where applicable, and the aggregate
25   number of hours expended in this matter and fees billed therefor. Biographical information for
26   paraprofessionals can be made available upon request by the Court or the Fee Examiner.
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 1                 13.       The summary sheets also contain a summary of Cravath’s hours billed during

 2   the Compensation Period using project categories (each of which correspond to a billing task code)

 3   described therein and hereinafter described. Cravath maintains computerized records of the time spent

 4   by all Cravath attorneys and paraprofessionals in connection with its representation of the Debtors.

 5   Copies of these computerized records have been filed on the docket with Cravath’s monthly fee

 6   statements and furnished to the Debtors, counsel for each of the Committees, the U.S. Trustee and the

 7   Fee Examiner in the format specified by the Fee Guidelines.

 8                 14.       The summary sheets also contain a schedule specifying the categories of

 9   expenses for which Cravath is seeking reimbursement and the total amount for each such expense

10   category. Itemized schedules of all such expenses have been filed on the docket with Cravath’s

11   monthly fee statements, provided to the Debtors, counsel for each of the Committees, the U.S. Trustee

12   and the Fee Examiner.

13                 15.       Annexed hereto as Exhibit A is a certification regarding Cravath’s compliance

14   with the Fee Guidelines.

15                 16.       Annexed hereto as Exhibit B is a summary and comparison of the aggregate

16   blended hourly rates billed by Cravath’s timekeepers in its New York office (Cravath’s sole domestic

17   office) on all matters during the preceding year on a rolling 12-months year ending September 30,

18   2019 and the blended hourly rates billed to the Debtors during the Compensation Period.

19                 17.       Cravath discussed its rates, fees and staffing with the Debtors at the outset of

20   these cases. Further, Cravath provided the Debtors with an estimated budget in connection with the

21   Debtors’ postpetition financing, which, as to the Compensation Period, was most recently amended

22   and agreed-upon on August 22, 2019. A summary of Cravath’s budget, as applicable for the

23   Compensation Period, is attached hereto as Exhibit C. For the Compensation Period, Cravath

24   estimated its fees and expenses, including pass-through expenses for retained experts, would be

25   $41,818,182 in the “high-case”, and the fees and expenses sought for the Compensation Period are

26   below that estimate.     A summary of staffing is attached hereto as Exhibit D.          Attorneys and

27   paraprofessionals assigned to this matter were necessary to assist with the administration of the

28

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 1   Chapter 11 Cases, preservation of the Debtors’ assets and the other matters described herein. The

 2   Debtors are aware of the complexities of these cases, the many issues that need to be addressed, the

 3   various disciplines involved and that staffing needs are dynamic based on a number of factors, many

 4   of which are unpredictable, including the activities of other parties in interest in these Chapter 11

 5   Cases.

 6                  18.       To the extent that time or disbursement charges for services rendered or

 7   disbursements incurred relate to the Compensation Period, but were not processed prior to the

 8   preparation of this Application, Cravath reserves the right to request additional compensation for such

 9   services and reimbursement of such expenses in a future application.

10                                   Summary of Services Performed by
                                   Cravath During the Compensation Period
11
                    19.       As described above, during the Compensation Period, Cravath rendered
12
     substantial professional services to the Debtors in connection with their ongoing restructuring efforts,
13
     corporate governance matters, regulatory investigations and the Wildfire Litigations. The following
14
     is a summary of the significant professional services rendered by Cravath during the
15
     Compensation Period, organized in accordance with Cravath’s internal system of project or work
16
     codes:
17
              a.    Case Administration (Incl. Docket Updates and Case Calendar) (Task Code ADMN)
18                  Fees: $243,085.00; Total Hours: 767.50
19                           Tracked litigation and investigations, including collecting and saving pertinent
                              case materials and correspondence, preparing materials for investigation
20                            interviews and productions to various entities, organizing hearing, deposition
                              and interview transcripts and updating a calendar of deadlines across multiple
21                            matters;
                             Maintained credentials for secure File Transfer Protocol sites and transmission
22                            of files through the same; and
                             Organized and circulated contact information of Debtor personnel to facilitate
23                            interviews further to fact investigations.
24            b.    Use and Sale of Assets, Including 363 Sales (Task Code ASST)
25                  Fees: $7,639.50; Total Hours: 7.00

26                           Analyzed provisions in the Equity Backstop Commitment Letters in connection
                              with asset sales and other dispositions; and
27                           Assessed offers to buy certain assets of Debtors.

28

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         c.       Automatic Stay (Task Code AUTO)
 1                Fees: $94,537.50; Total Hours: 107.00
 2                      Analyzed motion seeking relief from the automatic stay for the Tubbs fire;
                        Drafted a motion to reinstate the automatic stay for the Tubbs fire.
 3                      Conducted legal and factual research concerning enforcement of the automatic
                         stay as applied to state court wildfire litigation; and
 4                      Coordinated with the Debtors’ other legal advisors regarding relating to the
                         automatic stay.
 5
         d.       Bar Date and Claim Noticing Matters (Task Code BARN)
 6                Fees: $70,711.00; Total Hours: 76.90
 7                      Prepared, drafted and filed proof of claim forms to be used for specific wildfire-
                         related claims, including for individual wildfire-related claims and subrogation
 8                       wildfire-related claims;
                        Coordinated with the Debtors’ claims and noticing agent, Prime Clerk LLC,
 9                       and other professionals regarding noticing procedures and tracking of claims;
                         and
10                      Correspondence with counsel for each of the Committees regarding the bar
                         date, proof of claim forms and noticing procedures.
11
         e.       General Case Strategy (Task Code CASE)
12                Fees: $1,225,836.00; Total Hours: 1,438.80
13                      Participated in numerous meetings, conferences and teleconferences and
                         engaged in written communications among Cravath, the Debtors and the
14                       Debtors’ other advisors regarding general case strategy and status;
                        Prepared for and participated in meetings and teleconferences concerning case
15                       resolution and strategy, including relating to section 502(c) estimation matters;
                        Conducted and reviewed legal research and fact investigation and prepared
16                       associated materials, including orders of proof and memos, and coordinated
                         with experts;
17                      Reviewed and provided legal advice concerning business matters and media
                         inquiries relevant to the Chapter 11 Cases, Wildfire Litigations, investigations
18                       and various related issues; and
                        Organized and tracked legal holds and document collection work in support of
19                       all matters.
20       f.       Committee Matters (Task Code COMM)
                  Fees: $3,910,073.50; Total Hours: 6,488.90
21
                        Reviewed documents and drafted responses to numerous Committee discovery
22                       requests and motions;
                        Coordinated productions for Committee discovery requests related to various
23                       matters, including settlement benchmarking data from Butte and San Bruno;
                         and
24                      Responded to specific Committee inquiries.
25
         g.       Financing / Cash Collateral (Task Code CASH)
26                Fees: $951,389.50; Total Hours: 973.40

27                      Drafted and negotiated documentation related to the Debtors’ proposed Exit
                         Financing, including the Equity Backstop Commitment Letters, and reviewed
28

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                         and revised the Bridge Commitment Letters and related Engagement and Fee
 1                       Letters;
                        Drafted the Exit Financing approval motion and the motion to seal the Bridge
 2                       Fee Letters and redact the Bridge Engagement Letters;
                        Participated in numerous conferences and teleconferences with the Debtors,
 3                       other Debtor professionals, the Backstop and Commitment Parties, the
                         Backstop and Commitment Parties’ professionals regarding the Exit Financing
 4                       and Exit Financing orders, and prepared and reviewed certain related
                         presentations and other materials;
 5                      Prepared and/or reviewed drafts of various public and/or regulatory filings in
                         respect of the Exit Financing; and
 6                      Attention to matters regarding the DIP facility including responding to
                         information requests from and coordination with counsel to the DIP Agent.
 7
         h.       Cravath Retention and Fee Applications (Task Code CRAV)
 8                Fees: $950,685.00; Total Hours: 1,574.40
 9                      Drafted, edited and reviewed monthly fee statements and interim fee
                         application and related exhibits;
10                      Prepared guidance and provided advice regarding proper time entry
                         preparation; and
11                      Revised time entries prepared for submission with monthly fee statements to
                         prevent the disclosure of privileged information or attorney work product.
12
         i.       Creditor Inquiries (Task Code CRED)
13                Fees: $2,630.00; Total Hours: 2.60
14                      Coordinated the replacement of the administrative agent for PG&E Corp.’s
                         prepetition revolving credit facility;
15                      Addressed matters raised by prepetition lenders regarding the Debtors’ ability
                         to elect certain treatment of borrowings under existing credit facilities and
16                       related issues; and
                        Resolved creditor inquiries in connection with the Debtors’ DIP financing,
17                       committee interests and issues related to the existing wildfire litigation.
18       j.       Disclosure Statement/Solicitation/Voting Issues (Task Code DSSV)
                  Fees: $9,550.50; Total Hours: 10.90
19
                        Reviewed and edited Debtors’ SEC filings.
20
         k.       Retention and Fee Applications of Non-Cravath Professionals (Task Code FEEO)
21                Fees: $5,493.00; Total Hours: 4.20
22
                        Conferred with the Debtors, Debtor’s other professionals and experts regarding
23                       retention applications.

24       l.       Corporate Governance and Securities Matters (Task Code GOVR)
                  Fees: $1,059,966.00; Total Hours: 1,068.80
25
                        Drafted or edited numerous of Debtors’ SEC filings;
26                      Reviewed and provided comments to Debtors’ earnings releases and other
                         investor communications;
27                      Corresponded with shareholders and their representatives;

28

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                        Assisted and advised the Debtors in connection with the postpetition changes
 1                       in the composition of the Debtors’ boards of directors, including related
                         securities law and SEC disclosure matters;
 2                      Prepared materials for and participated in meetings of the Debtors’ boards of
                         directors and related committees;
 3                      Researched California and federal regulatory and securities law for the purpose
                         of rendering advice regarding public disclosures related to Debtors’ proposed
 4                       Exit Financing;
                        Conferred with Debtors’ auditors and financial advisors regarding securities,
 5                       accounting and other governance issues; and
                        Corresponded with Debtors’ officers and directors on corporate governance
 6                       matters.
 7       m.       Hearings and Court Matters (Task Code HEAR)
                  Fees: $472,438.00; Total Hours: 507.30
 8
                        Prepared for and attended certain in-person and telephonic hearings before the
 9                       Court, including hearings related to bar date, exclusivity, relief from the
                         automatic stay, estimation procedures and conferences addressing wildfire-
10                       related discovery disputes.
11       n.       Investigations (Task Code INVS)
                  Fees: $912,650.00; Total Hours: 1,294.40
12
                        Conducted factual investigations regarding various electric operations issues,
13                       including interviewing Debtor personnel and reviewing Debtor documents
                         regarding the same; and
14                      Represented Debtors in connection with SEC investigation, including by
                         reviewing and commenting on accounting and accrual matters and providing
15                       updates to the SEC.
16
         o.       Non-Bankruptcy Litigation (Task Code NONB)
17                Fees: $8,927,256.00; Total Hours: 15,395.20

18                      Conducted factual depositions, worked with experts, responded to requests for
                         additional documents and engaged in motion practice in preparation for the
19                       Tubbs state court litigation;
                        Coordinated collection, review and production of numerous documents in
20                       response to requests from government entities in relation to criminal
                         investigations surrounding the Camp Fire;
21                      Conducted meetings and interviews with Debtor personnel to determine
                         location and collection strategy for documents responsive to requests for
22                       production by government entities in relation to criminal investigations
                         surrounding the Camp Fire;
23                      Reviewed documents, including custodial Electronically Stored Information,
                         for privilege and responsiveness to requests for production by government
24                       entities;
                        Drafted cover letters to attach to productions to government entities;
25                      Reviewed documents and conducted interviews with Debtor personnel related
                         to ongoing investigations surrounding the Camp Fire;
26                      Conferred with Debtors’ other advisors and Debtor personnel regarding
                         strategy and approach to criminal investigations surrounding the Camp Fire;
27                      Drafted responses to dozens of information requests by the federal monitor
                         appointed in United States of America v. Pacific Gas and Electric Company,
28                       No. 3:14-cr-00175-WHA; and

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                        Conducted numerous meetings and interviews with subject matter experts to
 1                       gather information and confirm accuracy of drafted responses to orders in
                         United States of America v. Pacific Gas and Electric Company, No. 3:14-cr-
 2                       00175-WHA.
 3       p.       Other Contested Matters (Task Code OCMS)
                  Fees: $102,647.50; Total Hours: 103.10
 4
                        Participated in conferences and teleconferences with the Debtors, other Debtor
 5                       professionals and the Fee Examiner regarding various contested matters, and
                         prepared reports, responses and other materials with respect to the same;
 6                      Drafted revisions to Fee Examiner’s proposed protocol and related
                         correspondence with other Debtor professionals, legal counsel for the
 7                       Committee and the Fee Examiner; and
                        Drafted opposition brief to Fee Examiner's proposed protocol.
 8
         q.       Business Operations Matters (Task Code OPRS)
 9                Fees: $397,622.50; Total Hours: 484.20
10                      Prepared for and participated in regular meetings and teleconferences with
                         PG&E personnel regarding strategy for business operations matters for the
11                       purposes of providing legal advice, including the Community Wildfire Safety
                         Program (“CWSP”), the Public Safety Power Shutoff program and other
12                       operations of PG&E;
                        Reviewed and commented on draft policies, public official communications,
13                       internal communications and other documents regarding business operations
                         matters, including the CWSP, the Public Safety Power Shutoff program and
14                       other operations of PG&E;
                        Responded to data requests concerning the CWSP; and
15                      Advised PG&E’s in-house legal team and other PG&E personnel on various
                         regulatory requirements, records-keeping practices and legal issues associated
16                       with business operations matters, including the CWSP, the Public Safety Power
                         Shutoff program and other day-to-day operations of PG&E.
17
         r.       Plan of Reorganization / Plan Confirmation (Task Code PLAN)
18                Fees: $322,259.50; Total Hours: 291.00
19                      Participated in internal and external conferences and teleconferences with the
                         Debtors, other Debtor professionals and other parties in interest regarding
20                       Debtors’ Plan of Reorganization;
                        Analyzed and revised wildfire claims related aspects of Debtors’ Plan of
21                       Reorganization and Amended Plan of Reorganization;
                        Prepared, negotiated and executed plan support agreements with certain parties
22                       in interest; and
                        Reviewed and analyzed motion to terminate exclusivity and prepared status
23                       conference statements regarding the same.
24       s.       Public Relations Strategy (Task Code PUBL)
                  Fees: $113,192.00; Total Hours: 113.00
25
                        Reviewed and provided legal advice concerning public relations, including
26                       press releases and public statements, responses to investor inquiries and
                         preparation for shareholder meetings; and
27                      Reviewed documents and draft response to media inquiries.
28

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              t.     Regulatory & Legislative Matters (Task Code REGS)
 1                   Fees: $3,766,118.00; Total Hours: 5,781.90
 2                           Conducted meetings and interviews with Debtor personnel to determine
                              location and collection strategy for documents responsive to data requests
 3                            served by the CPUC, CAISO, CAL FIRE, CalPA, the City of San Francisco
                              and TURN pertaining to the 2017 North Bay Fires, the 2018 Camp Fire and
 4                            other areas contemplated by the requests;
                             Collected and reviewed documents for responsiveness to data requests served
 5                            by the CPUC, CAISO, CAL FIRE, CalPA, the City of San Francisco and TURN
                              pertaining to the 2017 North Bay Fires, the 2018 Camp Fire and other areas
 6                            contemplated by the requests;
                             Reviewed and redacted documents responsive to CPUC, CAISO, CAL FIRE,
 7                            CalPA the City of San Francisco and TURN data requests for privilege and
                              prepared confidentiality declarations;
 8                           Produced documents responsive to CPUC, CAISO, CAL FIRE, CalPA the City
                              of San Francisco and TURN data requests and coordinated with document
 9                            vendors with respect to the same;
                             Drafted narrative responses to questions posed by CPUC, CAISO, CAL FIRE,
10                            CalPA the City of San Francisco and TURN pertaining to the 2017 North Bay
                              Fires, the 2018 Camp Fire and other areas contemplated by the requests; and
11                           Reviewed and analyzed documents, interviewed Debtor personnel and prepared
                              response to CPUC Order Instituting Investigation regarding the 2017 North Bay
12                            Fires.
13            u.     Non-Working Travel Time (Task Code TRVL)
                     Fees:1 $597,981.00; Total Hours: 1,684.90
14
                             Travel time to Debtors’ offices and court hearings not otherwise billable.
15
              v.     U.S. Trustee Matters / Meetings /Communications / Reports (Task Code USTM)
16                   Fees: $18,384.00; Total Hours: 26.50
17                           Responded to requests for information from the U.S. Trustee; and
                             Participated in discussions with representatives of the U.S. Trustee regarding
18                            expert retention matters.
19            w.     Wildfire Claims Matters (Task Code WILD)
                     Fees: $11,738,993.00; Total Hours: 17,485.30
20
                             Conducted ongoing factual investigations of North Bay and Camp fires,
21                            including interviewing Debtor personnel and reviewing Debtor documents
                              regarding the same;
22                           Reviewed documents and records related to the ongoing factual investigations
                              of the wildfire claims, including in preparation for factual depositions;
23                           Conducted ongoing factual depositions of eye witnesses, first responders and
                              CAL FIRE investigators related to wildfire claims;
24                           Conducted site visits related to wildfire claims;
                             Conferred with Debtors’ other advisors and Debtor personnel regarding
25                            settlement strategy and approach related to the wildfire claims;
26

27        1
              Consistent with the Fee Procedures Order entered on November 15, 2019, Non-Working Travel Time (airplane
     travel) has been capped at two hours for billing purposes.
28

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                               Managed the preservation and collection of evidence related to the North Bay
 1                              and Camp fires;
                               Retained and worked with numerous subject matter experts regarding fire cause
 2                              and origin, electrical and metallurgical evidence, damages and other issues
                                relevant to wildfire claims;
 3                             Conducted and reviewed legal research relevant to wildfire claims; and
                               Drafted, reviewed and commented on various court filings related to resolution
 4                              of the wildfire claims.
 5
                      20.       The foregoing is merely a summary of the various professional services
 6
     rendered by Cravath during the Compensation Period. The professional services performed by
 7
     Cravath were necessary and appropriate to the administration of the Chapter 11 Cases and were in the
 8
     best interests of the Debtors and the estates. Compensation for such services as requested is
 9
     commensurate with the complexity, importance and nature of the issues and tasks involved.
10
                      21.       The professional services performed by partners, counsel and associates of
11
     Cravath were primarily rendered by the Corporate and Litigation Departments.2
12
                      22.       The professional services performed by Cravath on behalf of the Debtors during
13
     the Compensation Period required an aggregate expenditure of 55,687.20 recorded hours by Cravath’s
14
     partners, counsel, associates and paraprofessionals.            Of the aggregate time expended, 4,050.50
15
     recorded hours were expended by Cravath partners; 43,399.70 recorded hours were expended by
16
     associates, counsel, practice area attorneys and discovery attorneys; and 8,237.00 recorded hours were
17
     expended by paraprofessionals and other non-legal staff of Cravath.
18
                      23.       During the Compensation Period, Cravath billed the Debtors for time expended
19
     by attorneys based on hourly rates ranging from $390.00 to $1,500.00 per hour for attorneys.
20
     Allowance of compensation in the amount requested would result in a blended hourly billing rate for
21
     attorneys of approximately $721.08 (based on 47,450.20 recorded hours for attorneys at Cravath’s
22
     billing rates in effect at the time of the performance of services).
23

24

25

26

27        2
           Cravath’s Financial Restructuring and Reorganization (“FR&R”) practice group is organizationally located in the
     Corporate Department, but involves the participation of attorneys from both the Corporate and Litigation Departments.
28

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                                 Actual and Necessary Disbursements of Cravath
 1
                      24.     Cravath has disbursed $3,852,996.213 as expenses incurred in providing
 2
     professional services during the Compensation Period. These expenses are reasonable and necessary
 3
     and were essential to, among other things, ongoing work of subject matter experts retained for
 4
     purposes of the Wildfire Litigations, travel to and from court hearings and preparation of materials for
 5
     the same. Pursuant to arrangements agreed to between the Debtors and the Office of the U.S. Trustee
 6
     (and disclosed to the Committees), expenses for subject matter experts relating to the
 7
     Wildfire Litigations and associated claims are included as pass-through expenses under the line item
 8
     “Special Disbursements”, and separate approval by the Court of the employment of these subject
 9
     matter experts by Cravath has not been sought or obtained.
10
                      25.     Cravath has made every effort to minimize its disbursements in these
11
     Chapter 11 Cases. The actual expenses incurred in providing professional services were necessary,
12
     reasonable and justified under the circumstances to serve the needs of the Debtors, their estates and
13
     their economic stakeholders.
14
                                The Requested Compensation Should Be Allowed
15
                      26.     Section 331 of the Bankruptcy Code provides for interim compensation of
16
     professionals and incorporates the substantive standards of section 330 to govern the Court’s award of
17
     such compensation. 11 U.S.C. § 331. Section 330 of the Bankruptcy Code provides that a Court may
18
     award a professional employed under section 327 of the Bankruptcy Code “reasonable compensation
19
     for actual, necessary services rendered [and] reimbursement for actual, necessary expenses.”
20
     11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award of such compensation and
21
     reimbursement:
22
                      In determining the amount of reasonable compensation to be awarded
23                    to [a] professional person, the court shall consider the nature, the
24                    extent, and the value of such services, taking into account all relevant
                      factors, including –
25
                              (A)      the time spent on such services;
26

27        3
            Including $3,272,750.41 of Special Disbursements, the majority of which are pass-through expenses for subject
     matter experts.
28

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                            (B)     the rates charged for such services;
 1
                            (C)     whether the services were necessary to the administration of, or
 2                                  beneficial at the time at which the service was rendered toward
                                    the completion of, a case under this title;
 3
                            (D)     whether the services were performed within a reasonable
 4                                  amount of time commensurate with the complexity,
                                    importance, and nature of the problem, issue, or task addressed;
 5
                            (E)     with respect to a professional person, whether the person is
 6                                  board certified or otherwise has demonstrated skill and
                                    experience in the bankruptcy field; and
 7
                            (F)     whether the compensation is reasonable based on the customary
 8                                  compensation charged by comparably skilled practitioners in
                                    cases other than cases under this title.
 9
     Id. § 330(a)(3).
10

11                  27.     In the instant case, Cravath submits that the services for which it seeks

12   compensation and the expenditures for which it seeks reimbursement in this Application were

13   necessary for and beneficial to the preservation and maximization of value for all stakeholders and to

14   the orderly administration of the Chapter 11 Cases. The Debtors sought Chapter 11 protection “to find

15   the quickest and most efficient way to provide compensation” to the victims “of the tragic 2017 and

16   2018 wildfires” who are entitled to compensation. (Aug. 14, 2019 Hr’g Tr. 22:21-23:2 (Statement of

17   K. Orsini); accord Aug. 13, 2019 Hr’g Tr. 7:13-8-23 (Statement of the Court).) Cravath’s work, as

18   summarized above and detailed in its time entries, is focused on the resolution of claims stemming

19   from the wildfires, as well as related regulatory compliance investigations and activities. Such

20   services and expenditures were necessary to and in the best interests of the Debtors’ estates, creditors

21   and all other parties in interest. The compensation requested herein is reasonable and appropriate in

22   light of the nature, extent and value of such services to the Debtors, as well as the size and complexity

23   of these Chapter 11 Cases, the Wildfire Litigations and related investigations and corporate

24   governance matters.

25                  28.     The professional services were performed expediently and efficiently.

26   Whenever possible, Cravath sought to minimize the costs of its services to the Debtors by utilizing

27

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 1   junior attorneys and paraprofessionals to handle routine work and initial drafting of litigation

 2   materials.

 3                  29.     In sum, the services rendered by Cravath were necessary and beneficial to the

 4   Debtors’ estates and were consistently performed in a timely manner commensurate with the

 5   complexity, importance and nature of the issues involved. Accordingly, approval of the compensation

 6   for professional services and reimbursement of expenses sought herein is warranted.

 7                                                    Notice

 8                  30.     Notice of this Application has been provided to parties in interest in accordance

 9   with the procedures set forth in the Interim Compensation Order. Cravath submits that, in view of the

10   facts and circumstances, such notice is sufficient and no other or further notice need be provided.

11                                                 Conclusion

12                  31.     Cravath respectfully requests that the Court (i) award an interim allowance of

13   Cravath’s compensation for professional services rendered during the Compensation Period in the

14   amount of $39,754,134.21, consisting of $35,901,138.00, representing 100% of fees incurred during

15   the Compensation Period, and reimbursement of $3,852,996.21, representing 100% of actual and

16   necessary expenses incurred during the Compensation Period; (ii) direct payment by the Debtors of

17   the difference between the amounts allowed and any amounts previously paid by the Debtors pursuant

18   to the Interim Compensation Order; and (iii) grant such other and further relief as is just.

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     Dated: November 18, 2019
 1

 2

 3                                     CRAVATH, SWAINE & MOORE LLP
 4
                                                  /s/ Paul H. Zumbro
 5
                                                   Paul H. Zumbro
 6

 7

 8                                     Attorneys for Debtors and Debtors in Possession
 9

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                                                Notice Parties
 1
     PG&E Corporation
 2   c/o Pacific Gas & Electric Company
     77 Beale Street
 3   San Francisco, CA 94105
     Attn: Janet Loduca, Esq.
 4
     Keller & Benvenutti LLP
 5   650 California Street, Suite 1900
     San Francisco, CA 94108
 6   Attn: Tobias S. Keller, Esq.,
            Jane Kim, Esq.
 7
     Weil, Gotshal & Manges LLP
 8
     767 Fifth Avenue
 9   New York, NY 10153
     Attn: Stephen Karotkin, Esq.
10           Jessica Liou, Esq.
             Matthew Goren, Esq.
11
     The Office of the United States Trustee for Region 17
12   450 Golden Gate Avenue, 5th Floor, Suite #05-0153
     San Francisco, CA 94102
13   Attn: James L. Snyder, Esq.,
            Timothy Laffredi, Esq.
14
     Milbank LLP
15   55 Hudson Yards
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16   Attn: Dennis F. Dunne, Esq.,
           Sam A. Khalil, Esq.
17
     Milbank LLP
18   2029 Century Park East, 33rd Floor
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19   Attn: Paul S. Aronzon, Esq.,
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20         Thomas R. Kreller, Esq.
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     Scott H. McNutt
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     San Mateo, California 94402
28

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